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                        UNITED STATES DISTRICT COURT 

                    DISTRICT OF OREGON, PORTLAND DIVISION 





GABRIELA DOMINGUEZ-ESCUTIA,                       Case No.:
          Plaintiff,                                           CV '10 -1297                PK
                     v.                           COMPLAINT
                                                  Unfair Debt Collection Practices;
JON BARRY & ASSOCIATES, a North                   Violation of 15 U.S.C. § 1692 (FDCPA)
Carolina corporation, d/b/a                       DEMAND FOR JURY TRIAL
PARAGON REVENUE GROUP, a division of
Jon Barry & Associates,
JOHN DOE a.k.a. RAIT PAUL, and
JOHN DOE a.k.a. EDGAR JOLLA,
              Defendants.




                                           Attorney for Plaintiff Dominguez-Escutia




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PRELIMINARY STATEMENT 


1. 	 This is an action for money damages brought by a consumer pursuant to the Fair Debt

    Collection Practices Act, 15 U.S.C. § 1692, et seq. (hereinafter "FDCPA"), which prohibits

    debt collectors from engaging in abusive, deceptive, and unfair debt collection practices.

2. 	 Plaintiff's claims arise from Defendants' attempts to collect a debt in Oregon through

   "communications" as defined by 15 U.S.C. § 1692a(2) including, but not limited to, means and

    instrumentalities of interstate commerce and telecommunications.

JURISDICTION

3. 	 Jurisdiction of this Court arises under 15 U.S.c. § 1692k(d).

4. 	 Venue is proper in this District under 28 U.S.c. § 1391 because the acts and transactions

   occurred in Multnomah County and Plaintiff resides in Multnomah County.

PARTIES

5. 	 Plaintiff, Gabriela Dominguez-Escutia, is a natural person who resides in the city of Portland,

   Multnomah County in the State of Oregon.

6. 	 Plaintiff is a "consumer" as defined by the FDCPA, 15 U.S.c. § 1692a(3).

7. 	 Defendant, Jon Barry and Associates, Inc. (hereinafter "Barry and Associates") is a

   corporation organized under North Carolina law and does business in Oregon. Barry and

   Associates' principal place of business is located at 216 Le Phillip Court, Concord, NC

   28025.

8. 	 Defendant, John Doe a.k.a. Rait Paul (hereinafter "Paul"), is a natural person employed by

   Barry and Associates as a collector at all times relevant to this Complaint.

9. 	 Defendant, John Doe a.k.a. Edgar Jolla (hereinafter "Jolla"), is a natural person employed by

   Barry and Associates as a collector at all times relevant to this Complaint.




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10. Collectively Barry and Associates, Paul, and lolla use the instrumentality of interstate

   commerce and/or the United States Postal Service for the principal purpose of the collection

   of debts.

11. Collectively Barry and Associates, Paul, and lolla use the instrumentality of interstate

   commerce to regularly collect or attempt to collect, directly or indirectly, debts owed or due

   or asserted to be owed or due to others.

12. Defendants are "debt collectors" as defined by the FDCPA, 15 U.S.C. § 1692a(6}.

FACTUAL ALLEGATIONS

13. On or about February 3,2010, Plaintiff received a phone call at Plaintiffs home from Paul.

   Plaintiffs caller identification system indicated the phone number Paul called from was 800­

   868-1899. Paul requested to speak with Plaintiff and asked Plaintiff to verify her date of birth.

   After Plaintiff verified her date of birth, Paul stated that he was calling from a debt collection

   agency, Barry and Associates, and demanded payment for an alleged debt stemming from

   Parkland Health and Hospital System in Dallas, Texas (hereinafter "Parkland"). Plaintiff stated

   she had never received medical treatment in Texas and requested verification of the debt.

   Paul replied that Plaintiff needed to contact Parkland for verification and continued to

   demand payment. Plaintiff later discovered that the account numbers associated with this

   alleged debt were: 9997732 and 1003554 (hereinafter "the debt").

14. On or about February 3,2010 Plaintiff called Barry and Associates at the phone number

   indicated on Plaintiffs caller identification system, 800-868-1899, and spoke with lolla who,

   to the best of Plaintiffs recollection, stated "Is this Gabriela [PlaintiffJ? Are you calling to

   pay us?" Plaintiff asked lolla give Plaintiff the mailing address and phone number of Barry




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   and Associates. Jolla refused to release this information to Plaintiff and terminated the

   conversation by hanging up the phone abruptly, without saying "goodbye."

15. At no time did Defendants provide to Plaintiff a written notice of Plaintiffs right to request

   validation of the debt or to dispute the debt after the initial contact stated in paragraphs 13

   and 14. Defendants continued to collect on the debt after failing to provide written or oral

   notice of her right to dispute the debt by calling Plaintiff on her home telephone.

16. On or about March 11,2010 counsel for Plaintiff faxed to Barry and Associates a letter

   disputing the debt, requesting that Barry and Associates provide verification of the disputed

   debt, and demanding that Barry and Associates cease all collection efforts until such

   verification was provided pursuant the FDCPA, 15 U.S.C. § 1692g(b). This letter also

   indicated that the Plaintiffwas represented by counsel and included a representation agreement.

17. Barry and Associates reported to at least one consumer reporting agency, Equifax, that

   Plaintiff owed this debt, but failed to report that Plaintiff disputed this debt, pursuant to the

   FDCPA, 15 U.S.C. § 1692e(8).

18. On or about March 12,2010 counsel received a HIPAA release form via facsimile from

   Barry and Associates.

19. On or about May 21,2010 counsel called Barry and Associates to confirm their fax number.

   Counsel was informed that Barry and Associate's name had changed to "Paragon," and that

   Paragon was collecting debt for Barry and Associates. Paragon is a division of its corporate

   parent, Barry and Associates. Sometime between March 11, 2010 and May 21,2010 Paragon

   began collecting debt for Barry and Associates.

20. After Paragon and Barry and Associates were made aware that Plaintiff was represented by

   counsel and that counsel had requested in writing that all contact with Plaintiff cease as




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    stated in paragraph 16, Plaintiff received approximately twelve phone calls on Plaintiffs

    home telephone from Barry and Associates and/or Paragon.

21. On or about May 21, 2010, counsel for Plaintiff mailed and faxed a second letter to Paragon

    indicating that a debt verification letter was faxed to Barry and Associates on March 11,

    2010, that counsel for Plaintiff had not received documents verifying this debt from Barry

    and Associates, that Plaintiff disputed this debt, that Paragon provide verification of the

    disputed debt, and that Paragon cease all collection efforts until such verification was

   provided pursuant to the FDCPA, 15 U.S.C. § 1692g(b). This letter again indicated that

   Plaintiff was represented by counsel.

22. After, for a second time, being made aware that Plaintiff was represented by counsel and that

    Plaintiff had requested in writing that all contact with Plaintiff cease, Plaintiff received at

   least one phone call on Plaintiffs home telephone from Paragon.

23. Plaintiff knows the phone calls stated in paragraphs 13, 14, 15,20, and 22 were from Barry

    and Associates and/or Paragon through use of Plaintiffs caller identification system and

   originated from at least two numbers: 800-868-1899 and 800-230-5892.

24. Plaintiff has never sought nor received services from Parkland. Plaintiff indicated these facts to

    Defendants during the telephone conversation stated in paragraph 13.

25. As a result of the acts alleged above, Plaintiff suffered from anxiety, sadness, and sleeplessness.

26. As a result of the acts alleged above, Plaintiff s credit rating was negatively affected.

27. When Plaintiffs car was stolen she attempted to purchase another car; however, she could not

   procure a loan at a reasonable interest rate. Plaintiff had to rely on public transportation, which

   made daily tasks inconvenient, burdensome, and more expensive.




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28. Eventually, plaintiff was allowed to purchase a car while the car dealership searched for a loan

    with a reasonable rate, but Plaintiff had to pay a large down payment - approximately $8,000.

29. Once the car dealership found a loan with a reasonable rate, Plaintiff could not independently

   obtain the loan without her husband as co-signor.

30. As a result ofnot being able to obtain credit on her own, Plaintiff had a diminished feeling of

   self-worth.

FIRST CLAIM FOR RELIEF

31. Plaintiff incorporates by reference all of the above paragraphs of this complaint as though fully

   stated herein.

32. Defendants violated the FDCPA. Defendants' violations include, but are not limited to, the

   following:

       a) The Defendants violated 15 U.S.c. § 1692c(a)(2) by contacting Plaintiff after

           Defendants' knew that Plaintiff retained counsel with respect to the alleged debt.

       b) The Defendants violated 15 U.S.C. § 1692c(c) by continuing to communicate with

           Plaintiff after notifYing Defendant in writing that Plaintiff wanted Defendant to cease

           further communication regarding the alleged debt.

       c) The Defendants violated 15 U.S.C. § 1692g(a) by failing to send a written notice

           regarding the alleged debt within five days after the initial communication from Plaintiff

           or her counsel.

       d) 	 The Defendants violated 15 U.S.C. § 1692g(b) by failing to provide verification of the

           alleged debt after the Plaintiff disputed the debt in writing.

       e) The Defendants violated 15 U.S.C. § 1692g(b) by continuing their debt collection efforts

           even though Defendants failed to provide verification ofthe alleged debt to Plaintiff.




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      f) 	 The Defendants violated 15 U. S. C. § 1692e(8) by failing to report to the credit

          reporting agencies that this alleged debt was disputed.

      g) 	 The Defendants violated 15 U.S.c. § 1692e(11) by failing to disclose to Plaintiffthat the

          Defendants were debt collectors and infonnation communicated to Defendants would be

          used for the purposes of collecting a debt.

      h) 	 As a result of each and every Defendants' violation of the FDCP A, Plaintiff is entitled to

          statutory damages in an amount up to $1,000 pursuant to 15 U.S.c. § 1692k(a)(2)(A).

      i) Actual damages to be detennined pursuant to 15 U.S.C. § 1692k(a)(1).

      j) Plaintiff is entitled to reasonable attorneys fees and costs pursuant to 15 U.S.C. §

          1692k(a)(3) from each and every Defendant.

WHEREFORE, Plaintiff prays judgment be entered against each and every Defendant for:

      a) An award of statutory damages of$I,OOO.OO pursuant to 15 U.S.C. § 1692k(a)(2)(A)

          against Defendant Jon Barry and Associates, Inc.;

      b) An award of statutory damages of$I,OOO.OO pursuant to 15 U.S.C. § 1692k(a)(2)(A)

          against Defendant John Doe a.k.a. Rait Paul;

      c) An award of statutory damages of$I,OOO.OO pursuant to 15 U.S.C. § 1692k(a)(2)(A)

          against Defendant John Doe a.k.a. Edgar Jolla;

      d) An award of actual damages to be detennined pursuant to 15 U.S.C. § 1692k(a)(I)

          against each and every Defendant;

      e) An award of costs oflitigation and reasonable attorneys fees pursuant to 15 U.S.c. §

          1692k(a)(3) against each and every Defendant.




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